    Case: 1:18-cv-01313 Document #: 6 Filed: 02/23/18 Page 1 of 7 PageID #:20

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                                                                           THOMAS G BRUTON
                                                                        CLERK U.S. DISTRICT COURT



                              UNITED STATES DISTRICT COURT
                              NORTIIERN DISTRICT OT' ELINOIS
                                     EASTEBN DIVISION


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                                                           1:18-cv{1313
(Enter above the full name
                                                           Judge John J. Tharp, Jr
of the plaintiff or Plaintiffs in                          If,agistrab Judge Jeilfrey Cob
this action)                                               PC1
                                                Case No:
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 K   ad   Z   l"- tl rrrri<gn
(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CIIECK     OITIE   ONLY:                       AMEhIpED COiV.PLATNT

{               CoMPLAINT UNDER THE CIyIL RIGHTS ACT, TITLE             42 SECTION 1983
                U.S. Code (state, county, or municipal defendants)

                CoMPLAINT IINDER TI{E CONSTITUfl0N 1"BMNS " ACTION), TITLE
                2E SECTION 1331 U.S. Code (federal defendants)

                   OTIIER (cite statute, if known)
                                                                                    FO R
B E FORB FILLI NG O AT TH IS COMPI^AINT, PLEASE RE FER TO " INSTRUCTIONS
FILING,'I FOLLOW THESE INSTRUCTIONS CAREFALLY.

                                                                         Reviewed:812013
Case: 1:18-cv-01313 Document #: 6 Filed: 02/23/18 Page 2 of 7 PageID #:20




    PIaintiff(s):

    A.

    B.      List all aliases:

   c.       prisoneridentificationnumber:       2.Ol7 OE..Q ll03
   D.       place   ofpresentconfine^"n,     -t .,c>k (flu rllY ))Qc-
   E.      Address:

   (Ifthere is more than one plaintiff, then each plaintiffmust list his or hername, aliases, I.D.
   number, place of confinement, and current address according to the above format on a
   separate sheet of paper,)

   Defendant(s):
   (In A below, place the full name of the first dEfendant in the first blank, his or her official
   position in the seoond blank, and his or herplace of employment in the third blank. Space
   for two additional defendants is provided in B and C.)

   A.      Defendant:

           Title;    A
           Place ofEmployment:
                                                                                                      hf t-,5on
   B.      Defendant;

          Title:

          Place of Employment:                                                                        tlR   rri scn
          Defendant:

          Title:

          Place ofEmployment:

  (If you have more tlan   three defendants, then all additional defendants must be listed
  according to the above format on a sepaxate sheet of paper.)




                                                                                   Reviewed: 8/2013
       Case: 1:18-cv-01313 Document #: 6 Filed: 02/23/18 Page 3 of 7 PageID #:20

           [f    you need additional space for ANY section, please attach an additional sheet and reference that section.]




III.      List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
          court in the United States:

          A.          Name of case and docket             number:                tw             lvlcz
          B.          Approximate date of filing lawsuit:                        lJ r>
          C.          List all plaintiffs (if you had co-plaintiffs), including any                   aliases:       .l\,1   C



          D.          List all defendants:




          E.          Court in which the lawsuit.was filed (if federal court, name the district; if state court,
                      name the      countv):  N C>

          F.          Name ofjudge to whom case was                   assigned:         l\l f.-

          G.          Basic claim made:           /l O

          H.          Disposition of this case (for example: Was the case dismissed? Was it appealed?
                      Is it still oendins?):           Nln


                      Approximate date of           disposition,          NO

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE                                                                    TIIE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT TIIIS SECTION COMPLETELY,
AI\D FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                             Revised 9/2007




               ilf you need additional space for ANY section, please attach an additional sheet and reference that section.I
  Case: 1:18-cv-01313 Document #: 6 Filed: 02/23/18 Page 4 of 7 PageID #:20

            [f   you need additional space for ANY section, please attach an additional sheet and reference that seclion.]




Iv.     Statement of Claim:

        State here as briefly as possible the facts of your case. Describe how each defendant is
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
        if necessary.)




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Case: 1:18-cv-01313 Document #: 6 Filed: 02/23/18 Page 5 of 7 PageID #:20




v.    Relief:

      State briefly exactly what you want the court to do for       you. Make no legal arguments. Cite
      no cases or statutes.




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                u\          DU                    ss AQ.v. BF

N EV    rR      Rss\Sl"ub                               ,




VI.   The plaintiff demands that the case be tried by   a   jury.                   trNo

                                                            CERTIFICATION

                            By signing this Complain! I certify that the facts stated in this
                            Clmplainiare true to the best of my knowledge, information and
                            belief. I understand that if this certification is not corect, I may be
                             subject to sanctions bY the Court.

                             signed tnis    )5#f     auy     or ifflA) ,zoJZ


                            (Signature of plaintiff or plaintiffs)

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                            (I.D. Number)




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